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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

AKHMED GADZHIEVICH BILALOV,

                          Plaintiff,                             AMENDED ORDER OF
                                                                  REFERENCE TO A
                - against -                                      MAGISTRATE JUDGE

HERMAN GREF, SBERBANK CIB USA,                                    20 Civ. 9153 (PGG) (JW)
INC., SBERBANK OF RUSSIA PJSC, and
DOES 1-100,

                           Defendants.


PAUL G. GARDEPHE, U.S.D.J.:

               The above entitled action is referred to the designated Magistrate Judge
for the following purpose(s):

 X       General Pretrial (includes scheduling,
         discovery, non-dispositive pretrial              ⁯ Consent under 28 U.S.C. § 636(c) for all
                                                            purposes (including trial)
         motions, and settlement)


 ⁯       Specific Non-Dispositive
         Motion/Dispute:*                                 ⁯ Consent  under 28 U.S.C. § 636(c) for
                                                            limited purpose (e.g., dispositive
                                                               motion, preliminary injunction)
         ______________
                                                               Purpose: ____________________
         If referral is for discovery disputes
         when the District Judge is unavailable,
         the time period of the referral:                 ⁯ Habeas Corpus
         ___________________________
                                                          ⁯ Social Security
 ⁯       Settlement*                                      X Dispositive Motion (i.e., motion
                                                            requiring a Report and
                                                               Recommendation)
 ⁯       Inquest After Default/ Damages
         Hearing                                               Particular Motions: Dkt. No. 103
                                                               All such motions: ____________
*Do not check if already referred for general pretrial.
Dated: New York, New York
       January 11, 2023
